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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

JAY ALAN MEEKS,
      Petitioner,
v.                                                   Case No. 1:20-cv-171-AW-GRJ
SECRETARY, DEP’T OF
CORRECTIONS,
     Respondent.
_______________________________/
         ORDER ADOPTING REPORT AND RECOMMENDATION

      Having considered the magistrate judge’s September 1, 2020 Report and

Recommendation (ECF No. 5), and having considered de novo the Petitioner’s

objections (ECF No. 6), I now conclude the Report and Recommendation should be

adopted. The Report and Recommendation is incorporated into this order. The clerk

will enter a judgment that says, “The § 2254 petition is dismissed for lack of

jurisdiction.” The clerk will then close the file.

      SO ORDERED on October 20, 2020.

                                         s/ Allen Winsor
                                         United States District Judge
